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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,
               Plaintiffs,                           Civil Action No. 3:21-cv-00259
                                                     (Lead Case)
       v.

GREG ABBOTT et al.,
               Defendants.

FAIR MAPS TEXAS ACTION COMMITTEE,
et al.,
                                                     Civil Action No. 3:21-cv-01038
               Plaintiffs,                           (Consolidated Case)
       v.

GREG ABBOTT et al.,
               Defendants.

            STIPULATION OF DISMISSAL AS TO FAIR MAPS PLAINTIFFS

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Fair Maps Texas

Action Committee, OCA-Greater Houston, Emgage, Khanay Turner, Angela Rainey, Austin Ruiz,

Aya Eneli, Sofia Sheikh, Niloufar Hafizi, Lakshmi Ramakrishnan, Amatullah Contractor, Deborah

Chen, Arthur Resa, Sumita Ghosh, Anand Krishnaswamy, Peter Johnson, Zahra Syed, Chetan

Reddy, Sankar Muthukrishnan, Christina Lu, Jason Zhang, Chris Leal, Ashley Washington, and

Sarika Maheshwari (“Fair Maps Plaintiffs”), Defendants, and all other appearing parties in this

consolidated action, by and through undersigned counsel, hereby stipulate that Fair Maps

Plaintiffs’ claims in the consolidated case Civil Action No. 3:21-cv-01038 (the “Fair Maps

Action”) shall be dismissed. Each party shall bear its own fees and costs with respect to Fair Maps

Plaintiffs’ claims and the Fair Maps Action.


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Date: March 24, 2025                              Respectfully submitted,
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                              CERTIFICATE OF SERVICE

      I certify that on March 24, 2025, the foregoing document was served on counsel of record

via the Court’s CM/ECF system.


                                                         /s/ Hilary Harris Klein
                                                         Hilary Harris Klein
